        Case 2:19-bk-14989-WB                   Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53                              Desc
                                                 Main Document    Page 1 of 21
                                                     UNITED STATES DEPARTMENT OF JUSTICE
                                                     OFFICE OF THE UNITED STATES TRUSTEE
                                                        CENTRAL DISTRICT OF CALIFORNIA

In Re:                                                                  CHAPTER 11 (BUSINESS)
    Scoobeez                                                            Case Number:                                        2:19-BK-14989-WB




                                                                        Operating Report Number:                                          8
                                                         Debtor(s)      For the Month Ending:                         12/1/2019 to 12/31/2019

                                                      I. CASH RECEIPTS AND DISBURSEMENTS
                                                             A. (GENERAL ACCOUNT*)

   BEGINNING BALANCE AS OF PETITION DATE                                                                                             697,628

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                            27,579,567

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                                 26,811,301
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                                               1,465,894

4. RECEIPTS DURING CURRENT PERIOD:
   Accounts Receivable - Post-filing                                                                    4,299,904
   Accounts Receivable - Pre-filing
   General Sales
   Other (Specify)             Booking service refund (Hotels.com)                                            216




   TOTAL RECEIPTS THIS PERIOD:                                                                                                      4,300,120

5. BALANCE:                                                                                                                         5,766,014

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2)                                                        2,066,243
   Disbursements (from page 2)                                                                          1,611,333

   TOTAL DISBURSEMENTS THIS PERIOD:**                                                                                               3,677,576

7. ENDING BALANCE:                                                                                                                  2,088,438

8. General Account Number(s):                                        ******3680


                                                                     DIP Operating & Operating (Legacy) Wells Fargo
                                                                     3200 Foothill, Blvd.
   Depository Name & Location:                                       La Crescenta, CA 91214

* All receipts must be deposited into the general account.

**This amount should be the same as the total from page 2.




                                                                     Page 1 of 21
       Case 2:19-bk-14989-WB                     Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53                                   Desc
                                                  Main Document    Page 2 of 21
                                         TOTAL DISBURSEMENTS FROM GENERAL ACCOUNT FOR CURRENT PERIOD

                    Check                                                                                    *Amount      **Amount
Date mm/dd/yyyy    Number               Payee or DIP account                       Purpose                  Transferred   Disbursed     Amount
   12/01/2019       1727                   Implicit Labs Inc                      IT Services                               12,200.00    12,200.00
   12/02/2019     Debit Card            Adobe Creative Cloud                 Dues & Subscriptions                               33.98        33.98
   12/02/2019     Debit Card                    Indeed                       Recruitment Expense                               501.20       501.20
   12/02/2019     Debit Card                    Indeed                       Recruitment Expense                               153.81       153.81
   12/02/2019       1736                  Karen Soto Ridge                  Worker's Compensation                            2,500.00     2,500.00
                               Pinnacle Case Management Solutions,
  12/02/2019        1737                           LLC                      Worker's Compensation                            2,902.28     2,902.28
  12/02/2019      Debit Card                   Swizznet                       Dues & Subscriptions                             125.98       125.98
  12/02/2019        Wire                  Wells Fargo Bank                            Payroll                 15,000.00                  15,000.00
  12/03/2019      Debit Card                Google Service                    Dues & Subscriptions                           2,308.33     2,308.33
  12/03/2019      Debit Card                    Indeed                        Recruitment Expense                              505.38       505.38
  12/03/2019        1738                    Maria Estrada                       Janitor Expenses                               656.25       656.25
  12/03/2019      Debit Card                      Offix                          Office Expenses                               510.00       510.00
  12/03/2019        Wire                     PEX Holding                          Fuel Expenses                             35,000.00    35,000.00
  12/03/2019      Deduction               Wells Fargo Bank                          Bank Fees                                   30.00        30.00
  12/03/2019        Wire                  Wells Fargo Bank                            Payroll                744,292.00                 744,292.00
  12/03/2019        Wire                  Wells Fargo Bank                             Tax                   241,077.00                 241,077.00
  12/04/2019        1739              Albert Uresti, MPA, PCC                      Property Tax                                34.91         34.91
  12/04/2019      Debit Card            Amazon Prime on line                     Office Expenses                                0.52          0.52
  12/04/2019      Debit Card            Amazon Prime on line                     Office Expenses                              153.92        153.92
  12/04/2019      Debit Card            Amazon Prime on line                     Office Expenses                               63.05         63.05
  12/04/2019      Debit Card             City National Plaza                    Parking Expenses                               42.00         42.00
  12/04/2019        1740                     Daniel Pelaez                Shipping & Delivery Expenses                          8.05          8.05
  12/04/2019        Wire                  Hertz Corporation                     Vehicle Expenses                          108,495.29    108,495.29
  12/04/2019        Wire            Hillair Capital Management            Per Cash collateral stipulation                  40,000.00     40,000.00
  12/04/2019      Debit Card              LA Superior Court                          Citation                                 905.00        905.00
  12/04/2019      Deduction               Wells Fargo Bank                          Bank Fees                                  30.00         30.00
  12/04/2019      Deduction               Wells Fargo Bank                          Bank Fees                                  30.00         30.00
  12/05/2019      Debit Card            Amazon Prime on line                     Office Expenses                               62.78         62.78
  12/05/2019      Debit Card            Amazon Prime on line                     Office Expenses                              207.91        207.91
  12/05/2019      Debit Card            Amazon Prime on line                     Office Expenses                               16.50         16.50
  12/05/2019        1747                  Booster Fuels, Inc.                     Fuel Expenses                             2,276.29      2,276.29
  12/05/2019        1748                  Booster Fuels, Inc.                     Fuel Expenses                             2,481.10      2,481.10
  12/05/2019        1749                  Booster Fuels, Inc.                     Fuel Expenses                             3,553.96      3,553.96
  12/05/2019        1750                  Booster Fuels, Inc.                     Fuel Expenses                             3,477.73      3,477.73
  12/05/2019        1751                  Booster Fuels, Inc.                     Fuel Expenses                             3,387.07      3,387.07
  12/05/2019        1752                  Booster Fuels, Inc.                     Fuel Expenses                             1,041.85      1,041.85
  12/05/2019        1753                  Booster Fuels, Inc.                     Fuel Expenses                             1,399.84      1,399.84
  12/05/2019        1746                 Garo Dekirmendjian                      Rent Expenses                             10,500.00     10,500.00
  12/05/2019        1742                    Haik Madoyan                          Fuel Expenses                                84.00         84.00
  12/05/2019        1744                      Imres Appl                     Repair & Maintenance                             254.00        254.00
  12/05/2019      Debit Card                    Indeed                        Recruitment Expense                             501.53        501.53
  12/05/2019        1741                    Marco Briseno                  Other Expenses (Gardening)                         400.00        400.00
  12/05/2019        1743                    Marco Briseno                  Other Expenses (Gardening)                         200.00        200.00
  12/05/2019      Debit Card                 ServerMania                         Office Expenses                              250.00        250.00
                               Three Two Seven Family Management,
  12/05/2019        1745                           LLC                          Rent Expenses                                2,334.50     2,334.50
  12/06/2019        ACH               Accurate Background LLC              Employee Background Test                          8,132.27     8,132.27
  12/06/2019      Debit Card            Amazon Prime on line                    Office Expenses                                 28.68        28.68
  12/06/2019      Debit Card            Amazon Prime on line                    Office Expenses                                135.57       135.57
  12/06/2019      Debit Card            Amazon Prime on line                    Office Expenses                                162.20       162.20
  12/06/2019        1755            Charter Spectrum - Ft Worth                Utility Expenses                                187.88       187.88
  12/06/2019        1754          City of Glendale Water & Power               Utility Expenses                                981.43       981.43
  12/06/2019      Debit Card                    Indeed                       Recruitment Expense                               508.27       508.27
  12/06/2019      Debit Card                Shutter Stock                    Dues & Subscriptions                              199.00       199.00
  12/06/2019      Debit Card                     Twilio                      Dues & Subscriptions                               40.05        40.05
  12/06/2019      Debit Card                     UBER                          Travel Expenses                                  29.94        29.94
  12/09/2019      Debit Card                    Indeed                       Recruitment Expense                               502.45       502.45
  12/09/2019        Wire                    First Insurance                        Insurance                                41,276.00    41,276.00
  12/09/2019      Debit Card              Nates Cell Phone                       Phone Repair                                3,030.77     3,030.77
  12/09/2019        Wire                     PEX Holding                         Fuel Expenses                              35,000.00    35,000.00
  12/09/2019        1756               Spectrum San Antonio                    Utility Expenses                                328.43       328.43
  12/09/2019        1757               Spectrum/La Crescenta                   Utility Expenses                                294.98       294.98
  12/09/2019        1758                      SuperVision                  Employee Background Test                            260.50       260.50
  12/09/2019      Debit Card                     Twilio                      Dues & Subscriptions                               50.00        50.00
  12/09/2019      Deduction               Wells Fargo Bank                         Bank Fees                                    30.00        30.00
  12/09/2019      Deduction               Wells Fargo Bank                         Bank Fees                                    30.00        30.00

                                                                     Page 2 of 21
     Case 2:19-bk-14989-WB                Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53                               Desc
                                           Main Document    Page 3 of 21
12/09/2019   Debit Card              Zip Recruiter                   Recruitment Expense                          1,199.00     1,199.00
12/10/2019     1761                Athens Services                      Utility Expenses                            174.25       174.25
12/10/2019     1759              City of Los Angeles                         Citation                                93.00        93.00
12/10/2019     1771                  Devino Group                          IT Services                            2,000.00     2,000.00
12/10/2019   Debit Card                  Indeed                      Recruitment Expense                            500.87       500.87
12/10/2019     1760               S & S Lab Services                     Office Expenses                            350.00       350.00
12/10/2019   Debit Card                   Twilio                      Dues & Subscriptions                           40.04        40.04
12/11/2019     1763                 AT&T Mobility                 Telephone Service Expenses                     20,342.29    20,342.29
12/11/2019     1762               Foothill Plumbing                  Repair & Maintenance                           105.00       105.00
12/11/2019     Wire              Hertz Corporation                     Vehicle Expenses                         114,298.78   114,298.78
12/11/2019     Wire         Hillair Capital Management           Per Cash collateral stipulation                 40,000.00    40,000.00
12/11/2019   Debit Card              ServerMania                         Office Expenses                            107.10       107.10
12/11/2019   Deduction            Wells Fargo Bank                          Bank Fees                                30.00        30.00
12/11/2019   Deduction            Wells Fargo Bank                          Bank Fees                                30.00        30.00
12/12/2019     1764              Booster Fuels, Inc.                      Fuel Expenses                           2,587.66     2,587.66
12/12/2019     1765              Booster Fuels, Inc.                      Fuel Expenses                           4,345.72     4,345.72
12/12/2019     1766              Booster Fuels, Inc.                      Fuel Expenses                           3,834.45     3,834.45
12/12/2019     1767              Booster Fuels, Inc.                      Fuel Expenses                           1,237.39     1,237.39
12/12/2019     1768              Booster Fuels, Inc.                      Fuel Expenses                           3,844.28     3,844.28
12/12/2019     1769              Booster Fuels, Inc.                      Fuel Expenses                           1,575.80     1,575.80
12/12/2019     1770              Booster Fuels, Inc.                      Fuel Expenses                           2,342.82     2,342.82
12/12/2019   Debit Card         Extra Space Storage                      Rent Expenses                              159.50       159.50
12/12/2019   Debit Card                  Indeed                      Recruitment Expense                            504.22       504.22
12/13/2019   Debit Card        Adobe Creative Cloud                   Dues & Subscriptions                           24.99        24.99
12/13/2019   Debit Card                 Best Buy                         Office Expenses                            849.88       849.88
12/13/2019   Debit Card         Confirm Biosciences               Employee Background Test                          800.00       800.00
12/13/2019   Debit Card         Confirm Biosciences               Employee Background Test                          800.00       800.00
12/13/2019   Debit Card                  Indeed                      Recruitment Expense                            500.17       500.17
12/13/2019   Debit Card              ServerMania                         Office Expenses                             93.60        93.60
12/13/2019   Debit Card                   Twilio                      Dues & Subscriptions                           40.17        40.17
12/13/2019   Debit Card                 Wal-Mart                         Office Expenses                             97.41        97.41
12/16/2019   Debit Card           American Airlines                     Travel Expenses                             288.30       288.30
12/16/2019   Debit Card                 Delta Air                       Travel Expenses                             215.30       215.30
12/16/2019     1772           Medspring Urgent Care                      Worker's comp                              219.00       219.00
12/16/2019   Debit Card                  Expedia                        Travel Expenses                               4.42         4.42
12/16/2019   Debit Card               Hotels.com                        Travel Expenses                             215.76       215.76
12/16/2019   Debit Card               Hotels.com                        Travel Expenses                             348.06       348.06
12/16/2019   Debit Card                  Indeed                      Recruitment Expense                            500.85       500.85
12/16/2019     1773                 John Anderson                           Van Wash                              2,045.92     2,045.92
12/16/2019     Wire                   PEX Holding                         Fuel Expenses                           5,000.00     5,000.00
12/16/2019   Deduction            Wells Fargo Bank                          Bank Fees                                30.00        30.00
12/17/2019     Wire         Hillair Capital Management                   Special Cousel                         100,000.00   100,000.00
12/17/2019   Debit Card                  Indeed                      Recruitment Expense                            508.79       508.79
12/17/2019     Wire                    Innovative                           Insurance                            55,303.67    55,303.67
12/17/2019   Debit Card           Nates Cell Phone                        Phone Repair                            2,823.30     2,823.30
12/17/2019     Wire                   PEX Holding                         Fuel Expenses                          40,000.00    40,000.00
12/17/2019   Deduction            Wells Fargo Bank                          Bank Fees                                30.00        30.00
12/17/2019   Deduction            Wells Fargo Bank                          Bank Fees                                30.00        30.00
12/17/2019   Deduction            Wells Fargo Bank                          Bank Fees                                30.00        30.00
12/18/2019     Wire                     Buchalter                       BK Related Fees                          35,519.58    35,519.58
12/18/2019     1779       Crescenta Valley Water District               Utility Expenses                          1,503.11     1,503.11
12/18/2019     1776               Force 10 Partners                     BK Related Fees                          40,000.00    40,000.00
12/18/2019     Wire              Hertz Corporation                     Vehicle Expenses                         103,781.81   103,781.81
12/18/2019     Wire         Hillair Capital Management           Per Cash collateral stipulation                 40,000.00    40,000.00
12/18/2019     1778         Hydrex Pest & Termite Co.                   Utility Expenses                            140.00       140.00
12/18/2019     1775                  Maria Estrada                      Janitor Expenses                            720.00       720.00
12/18/2019     Wire                      Olshan                         BK Related Fees                          14,480.42    14,480.42
12/18/2019   Debit Card              ServerMania                         Office Expenses                              7.07         7.07
12/18/2019   Debit Card              ServerMania                         Office Expenses                             20.93        20.93
12/18/2019   Debit Card                   UBER                          Travel Expenses                              14.30        14.30
12/18/2019   Debit Card                   UBER                          Travel Expenses                              29.14        29.14
12/18/2019   Debit Card                   UBER                          Travel Expenses                               0.98         0.98
12/18/2019   Debit Card                   USPS                   Shipping & Delivery Expenses                        11.20        11.20
12/18/2019     1777                      Verizon                  Telephone Service Expenses                      5,145.22     5,145.22
12/18/2019   Deduction            Wells Fargo Bank                          Bank Fees                                30.00        30.00
12/18/2019   Deduction            Wells Fargo Bank                          Bank Fees                                30.00        30.00
12/18/2019   Deduction            Wells Fargo Bank                          Bank Fees                                30.00        30.00
12/18/2019   Deduction            Wells Fargo Bank                          Bank Fees                                30.00        30.00
12/18/2019     Wire               Wells Fargo Bank                            Payroll              834,672.58                834,672.58
12/18/2019     Wire               Wells Fargo Bank                             Tax                 231,200.98                231,200.98
12/19/2019     1780              Booster Fuels, Inc.                      Fuel Expenses                           2,046.72     2,046.72

                                                            Page 3 of 21
     Case 2:19-bk-14989-WB                 Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53                  Desc
                                            Main Document    Page 4 of 21
12/19/2019     1781                Booster Fuels, Inc.                     Fuel Expenses              3,609.25    3,609.25
12/19/2019     1782                Booster Fuels, Inc.                     Fuel Expenses              1,406.41    1,406.41
12/19/2019     1783                Booster Fuels, Inc.                     Fuel Expenses              3,926.49    3,926.49
12/19/2019     1784                Booster Fuels, Inc.                     Fuel Expenses              1,615.80    1,615.80
12/19/2019     1785                Booster Fuels, Inc.                     Fuel Expenses              2,842.39    2,842.39
12/19/2019     1786                Booster Fuels, Inc.                     Fuel Expenses              3,719.85    3,719.85
12/19/2019   Debit Card                   Indeed                        Recruitment Expense             502.28      502.28
12/20/2019   Debit Card          Amazon Prime on line                     Office Expenses                92.81       92.81
12/20/2019   Debit Card          Amazon Prime on line                     Office Expenses               153.90      153.90
12/20/2019     1790                City of Los Angeles                         Citation                  93.00       93.00
12/20/2019     1789                        DMV                      Employee Background Test             29.00       29.00
12/20/2019   Debit Card                   Indeed                        Recruitment Expense             501.70      501.70
12/20/2019   Debit Card           Live Agent Recurring                  Dues & Subscriptions            469.00      469.00
12/20/2019     1788                      LNBY&B                           BK Related Fees            12,500.00   12,500.00
12/20/2019   Debit Card                 U-STOR-IT                          Rent Expenses                 92.00       92.00
12/23/2019     1796       Aden Ghevondyan ( Expense account)              Travel Expenses               503.93      503.93
12/23/2019   Debit Card          Amazon Prime on line                     Office Expenses               153.60      153.60
12/23/2019   Debit Card          Amazon Prime on line                     Office Expenses                97.41       97.41
12/23/2019   Debit Card          Amazon Prime on line                     Office Expenses                14.32       14.32
12/23/2019   Debit Card          Amazon Prime on line                     Office Expenses                63.62       63.62
12/23/2019   Debit Card          Amazon Prime on line                     Office Expenses                18.35       18.35
12/23/2019   Debit Card                  Dropbox                        Dues & Subscriptions             19.99       19.99
12/23/2019     Wire                 Foley and Lardner                     BK Related Fees            52,500.00   52,500.00
12/23/2019     1797           George Voskanian (Expense)                  Travel Expenses             4,170.26    4,170.26
12/23/2019   Debit Card          Halo Branded Solution                        Uniforms                  905.65      905.65
12/23/2019   Debit Card          Halo Branded Solution                        Uniforms                  789.71      789.71
12/23/2019     Wire                Hertz Corporation                      Vehicle Expenses           76,524.93   76,524.93
12/23/2019     Wire           Hillair Capital Management           Per Cash collateral stipulation   40,000.00   40,000.00
12/23/2019   Debit Card                   Indeed                        Recruitment Expense             500.99      500.99
12/23/2019   Debit Card                   Indeed                        Recruitment Expense             501.87      501.87
12/23/2019     1792                 Karen Soto Ridge                  Worker's Compensation           2,500.00    2,500.00
12/23/2019   Debit Card        Liberty Mutual Insurance                       Insurance                 968.00      968.00
12/23/2019     Wire                    PEX Holding                         Fuel Expenses             25,000.00   25,000.00
12/23/2019     1793             Ready Refresh by Nestle                   Office Expenses               135.90      135.90
12/23/2019     1794             Ready Refresh by Nestle                   Office Expenses                62.03       62.03
12/23/2019   Debit Card                ServerMania                        Office Expenses                63.00       63.00
12/23/2019   Debit Card                  SignNow                        Dues & Subscriptions            180.00      180.00
12/23/2019     1795                      SoCalGas                         Utility Expenses              107.39      107.39
12/23/2019   Debit Card                    Twilio                       Dues & Subscriptions             40.00       40.00
12/23/2019     1791                     WCMD, Inc                     Worker's Compensation           5,650.00    5,650.00
12/23/2019   Deduction              Wells Fargo Bank                         Bank Fees                   30.00       30.00
12/23/2019   Deduction              Wells Fargo Bank                         Bank Fees                   30.00       30.00
12/23/2019   Deduction              Wells Fargo Bank                         Bank Fees                   30.00       30.00
12/23/2019   Deduction              Wells Fargo Bank                         Bank Fees                   30.00       30.00
12/24/2019   Debit Card              Microsoft Store                      Office Expenses               149.99      149.99
12/26/2019     ACH                          ADP                        Payroll Processing Fees           20.00       20.00
12/26/2019     ACH                          ADP                        Payroll Processing Fees           20.00       20.00
12/26/2019     ACH                          ADP                        Payroll Processing Fees           20.00       20.00
12/26/2019     ACH                          ADP                        Payroll Processing Fees          358.93      358.93
12/26/2019     ACH                          ADP                        Payroll Processing Fees        1,050.00    1,050.00
12/26/2019     ACH                          ADP                        Payroll Processing Fees        3,829.61    3,829.61
12/26/2019     ACH                          ADP                        Payroll Processing Fees        4,414.61    4,414.61
12/26/2019     ACH                          ADP                        Payroll Processing Fees        3,724.61    3,724.61
12/26/2019     ACH                          ADP                        Payroll Processing Fees        4,491.76    4,491.76
12/26/2019     ACH                          ADP                        Payroll Processing Fees        4,560.86    4,560.86
12/26/2019     ACH                          ADP                        Payroll Processing Fees        4,567.26    4,567.26
12/26/2019     ACH                          ADP                        Payroll Processing Fees        4,106.51    4,106.51
12/26/2019   Debit Card          Amazon Prime on line              10 top Driver Christmas Bonus        500.00      500.00
12/26/2019   Debit Card          Amazon Prime on line              10 top Driver Christmas Bonus        250.00      250.00
12/26/2019   Debit Card          Amazon Prime on line              10 top Driver Christmas Bonus        250.00      250.00
12/26/2019   Debit Card                   Indeed                        Recruitment Expense             503.13      503.13
12/26/2019   Debit Card              Rackspace Cloud                    Dues & Subscriptions            891.81      891.81
12/27/2019     ACH                          ADP                        Payroll Processing Fees           20.00       20.00
12/27/2019     1800                Booster Fuels, Inc.                     Fuel Expenses              3,652.27    3,652.27
12/27/2019     1801                Booster Fuels, Inc.                     Fuel Expenses              4,049.40    4,049.40
12/27/2019     1802                Booster Fuels, Inc.                     Fuel Expenses              1,663.14    1,663.14
12/27/2019     1798                Booster Fuels, Inc.                     Fuel Expenses              1,426.47    1,426.47
12/27/2019     1799                Booster Fuels, Inc.                     Fuel Expenses              1,249.68    1,249.68
12/27/2019     1803                Booster Fuels, Inc.                     Fuel Expenses              2,654.87    2,654.87
12/27/2019     1804                Booster Fuels, Inc.                     Fuel Expenses              3,628.57    3,628.57
12/27/2019   Debit Card               Domino's Pizza                  Company holiday Lunch              52.85       52.85

                                                               Page 4 of 21
         Case 2:19-bk-14989-WB                         Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53                                              Desc
                                                        Main Document    Page 5 of 21
   12/27/2019       Debit Card                      Indeed                             Recruitment Expense                                      500.29       500.29
   12/27/2019       Debit Card                    Mailchimp                               Office Expenses                                        34.99        34.99
   12/30/2019       Debit Card             Amazon Prime on line                          Employee Bonus                                       2,000.00     2,000.00
   12/30/2019       Debit Card                      Indeed                             Recruitment Expense                                      501.07       501.07
   12/30/2019       Debit Card                 Liquid Web LLC                          Dues & Subscriptions                                   1,518.00     1,518.00
   12/30/2019       Debit Card                Nates Cell Phone                             Phone Repair                                       2,303.02     2,303.02
   12/30/2019       Debit Card                       UBER                                 Travel Expenses                                        17.01        17.01
   12/30/2019       Debit Card                       UBER                                 Travel Expenses                                        15.69        15.69
   12/30/2019         1805               Valiant Anesthesia Assoc.                    Worker's Compensation                                     684.92       684.92
   12/31/2019       Debit Card             Amazon Prime on line                           Office Expenses                                        19.79        19.79
   12/31/2019       Debit Card             Amazon Prime on line                           Office Expenses                                        43.25        43.25
   12/31/2019         1808               DW Harrow & Assoc LLC                            BK Related Fees                                     2,500.00     2,500.00
   12/31/2019         1814              George Voskanian (Expense)                        Travel Expenses                                       475.58       475.58
   12/31/2019         1810                 Grobstein Teeple, LLP                          BK Related Fees                                     2,500.00     2,500.00
   12/31/2019         Wire                   Hertz Corporation                           Vehicle Expenses                                   110,804.66   110,804.66
   12/31/2019         Wire              Hillair Capital Management                 Per Cash collateral stipulation                           40,000.00    40,000.00
   12/31/2019       Debit Card                      Indeed                             Recruitment Expense                                      500.08       500.08
   12/31/2019         Wire                        Innovative                               WC Insurance                                      73,450.39    73,450.39
   12/31/2019         1807                   Lockton Insurance                           Excess Insurance                                    71,582.00    71,582.00
   12/31/2019         1809                      Maria Estrada                            Janitor Expenses                                       806.25       806.25
   12/31/2019         Wire                       PEX Holding                               Fuel Expenses                                     20,000.00    20,000.00
   12/31/2019         1813                 Royal Pest Elimination                         Utility Expenses                                      260.00       260.00
   12/31/2019         1815                       SuperVision                        Employee Background Test                                    126.00       126.00
   12/31/2019       Debit Card                      Verizon                         Telephone Service Expenses                                  258.11       258.11
   12/31/2019       Debit Card                      Verizon                         Telephone Service Expenses                                  190.88       190.88
   12/31/2019       Deduction                 Wells Fargo Bank                               Bank Fees                                           30.00        30.00
   12/31/2019       Deduction                 Wells Fargo Bank                               Bank Fees                                           30.00        30.00
   12/31/2019       Deduction                 Wells Fargo Bank                               Bank Fees                                           30.00        30.00
   12/31/2019       Deduction                 Wells Fargo Bank                               Bank Fees                                           30.00        30.00


                                                                              TOTAL DISBURSEMENTS THIS PERIOD:                  2,066,243    1,611,333    3,677,575

* Fill in amounts in this column if they are TRANSFERS to another DIP account (e.g. Payroll or Tax); the "amount" column will
be filled in for you.
** Fill in amounts in this column if they are DISBURSEMENTS to outside payees; the "amount" column will be filled in for you.




                                                                             Page 5 of 21
         Case 2:19-bk-14989-WB                     Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53          Desc
                                                    Main Document    Page 6 of 21
                                                          GENERAL ACCOUNT
                                                         BANK RECONCILIATION

                            Bank statement Date:               12/31/2019        Balance on Statement:     2,250,886

Plus deposits in transit (a):

                                                        Deposit Date             Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                         0

Less Outstanding Checks (a):
                           Check Number                  Check Date              Check Amount
                                  1003                         05/15/2019                            151
                                  1024                         05/21/2019                             23
                                  1029                         05/21/2019                             28
                                  1045                         05/24/2019                          1,496
                                  1074                         05/29/2019                            302
                                  1151                         06/06/2019                             27
                                  1287                         07/02/2019                          2,000
                                  1687                         11/13/2019                            263
                                  1740                         12/04/2019                              8
                                  1771                         12/10/2019                          2,000
                                  1776                         12/18/2019                         40,000
                                  1780                         12/19/2019                          2,047
                                  1781                         12/19/2019                          3,609
                                  1782                         12/19/2019                          1,406
                                  1783                         12/19/2019                          3,926
                                  1784                         12/19/2019                          1,616
                                  1785                         12/19/2019                          2,842
                                  1786                         12/19/2019                          3,720
                                  1793                         12/23/2019                            136
                                  1794                         12/23/2019                             62
                                  1800                         12/27/2019                          3,652
                                  1801                         12/27/2019                          4,049
                                  1802                         12/27/2019                          1,663
                                  1798                         12/27/2019                          1,426
                                  1799                         12/27/2019                          1,250
                                  1803                         12/27/2019                          2,655
                                  1804                         12/27/2019                          3,629
                                  1805                         12/30/2019                            685
                                  1808                         12/31/2019                          2,500
                                  1809                         12/31/2019                            806
                                  1810                         12/31/2019                          2,500
                                  1807                         12/31/2019                         71,582
                                  1813                         12/31/2019                            260
                                  1815                         12/31/2019                            126

TOTAL OUTSTANDING CHECKS:                                                                                   162,447

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                     2,088,438

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment



                                                                  Page 6 of 21
        Case 2:19-bk-14989-WB               Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53             Desc
                                             Main Document    Page 7 of 21
                                                     I. CASH RECEIPTS AND DISBURSEMENTS
                                                             B. (PAYROLL ACCOUNT)

1. TOTAL RECEIPTS PER ALL PRIOR PAYROLL ACCOUNT REPORTS                                                    10,047,435

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR PAYROLL                                                         10,046,976
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                             459

4. RECEIPTS DURING CURRENT PERIOD:                                                                          1,593,965
     (Transfer from General Account)

5. BALANCE:                                                                                                 1,594,424

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
     TOTAL DISBURSEMENTS THIS PERIOD:***                                                                    1,579,732

7. ENDING BALANCE:                                                                                              14,691

8.   PAYROLL Account Number(s):                                                ******8415


                                                                               DIP Payroll Wells Fargo
                                                                               3200 Foothill, Blvd.
     Depository Name & Location:                                               La Crescenta, CA 91214




                                                                Page 7 of 21
    Case 2:19-bk-14989-WB        Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53                Desc
                                  Main Document    Page 8 of 21
                   TOTAL DISBURSEMENTS FROM PAYROLL ACCOUNT FOR CURRENT PERIOD

  Date        Check
mm/dd/yyyy   Number             Payee                                Purpose                 Amount
12/02/2019     704           Zackery Durham                Final check 1116-11212019          266.87
12/02/2019     708         Auquasia Singletary        Replacement check 1101-11152019         743.88
12/02/2019     712             Maya Thomas                 Final check 1101-11062019          324.47
12/02/2019     716              Bryan Foster               Final check 1116-11262019          258.12
12/02/2019     715          Fernando Barajas               Final check 1116-11262019          475.01
12/02/2019     717            Jilberto Galvan              Final check 1116-11292019          996.66
12/02/2019     718       Andrew Sythammavong               Final check 1116-11292019          617.49
12/02/2019     719             Hezekial Shiel              Final check 1116-11302019          485.05
12/02/2019     720             William Taffet                  Replacement check              979.52
12/02/2019     721       Andrew Sythammavong               Final check 1116-11292019          356.36
12/02/2019     722                Julio Rojo               Final check 1116-11302019          370.79
12/02/2019     723           Edward Jimenez                Final check 1116-11302019          816.59
12/02/2019     724          Justin Hernandez               Final check 1116-11302019          404.66
12/02/2019     725               Kathy Hicks          Fees for the period 1116-11302019      1,837.50
12/02/2019     726               Kathy Hicks         Fees for the period 1116-11302019 OT     760.00
12/02/2019     727             Shane Jerger                Final check 1201-12022019           35.63
12/03/2019     Wire                  ADP                              Payroll               715,389.24
12/03/2019   Deduction      Wells Fargo Bank                        Bank Fees                    5
12/04/2019     728                Julio Rojo               Final check 1201-12042019          130.18
12/04/2019     729         Rodrigo Hernandez               Final check 1201-12042019          290.27
12/04/2019     Wire                  ADP                              Payroll                4,704.87
12/04/2019   Deduction      Wells Fargo Bank                        Bank Fees                    5
12/05/2019     730           Jonathan Padilla              Final check 1201-12052019           52.07
12/05/2019     731              Doris Swain                    Replacement check              986.02
12/06/2019     732            Samuel Morris                        Final check                138.66
12/06/2019     733            Shakia Williams                      Final check                169.34
12/10/2019     734          Monique Steward                        DCH1 Bonus                 105.32
12/11/2019     735         Jermaine Crawford                       Final check                 44.26
12/12/2019     736          Cristobal Jimenez                      Final check                 32.54
12/13/2019     737             David Morris                        Final check                195.02
12/13/2019     738              Julio Najera                       DLA9 Bonus                 110.10
12/13/2019     739            Charles Ashurst                      DLA9 Bonus                 110.09
12/13/2019     740              Abel Ortega                        DLA9 Bonus                 110.09
12/16/2019     741             Adrian Perez                Final check 1201-12152019          973.54
12/16/2019     742       Anthony Maurice Allen             Final check 1201-12152019         1,327.78
12/16/2019     743               Kathy Hicks          Fees for the period 1201-12152019      1,837.50
12/16/2019     744               Kathy Hicks         Fees for the period 1201-12152019 OT       870
12/18/2019     746         Hulices Garcia Ruiz             Final check 1201-12152019          826.67
12/18/2019     745           David Rodriguez               Final check 1201-12152019          626.25
12/18/2019     747             Arthur Ortega               Final check 1201-12152019          215.69
12/18/2019     748         Anastacio Montoya               Final check 1201-12152019         1,205.91
12/18/2019     749             Ismael Rivera               Final check 1201-12152019          978.63
12/18/2019     750             Karliah Butler              Final check 1201-12152019          717.53
12/18/2019     751        Victor Montes De Oca             Final check 1201-12152019          424.75
12/18/2019     752             Adrian Perez                Final check 1201-12152019           363.6
12/18/2019     753             Arthur Ortega                       Final check                130.16
12/19/2019     754           Stephanie Matus                          Payroll                 630.44
12/19/2019   Deduction      Wells Fargo Bank                        Bank Fees                   5.00
12/19/2019   Deduction      Wells Fargo Bank                        Bank Fees                   5.00
12/19/2019     Wire                  ADP                         1201-12152019               5,424.77
12/19/2019     Wire                  ADP                         1201-12152019              835,659.31

                                                 Page 8 of 21
    Case 2:19-bk-14989-WB   Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53             Desc
                             Main Document    Page 9 of 21
12/20/2019    755       Joshua Jackson                  Payroll adjustments            357.4
12/23/2019    756        Nicholas Solari                       Bonus                   182.7
12/24/2019    758        Cristian Perez             Final check 1216-12242019          32.54
12/24/2019    759          Tyra Luck                Final check 1216-12242019         142.86
12/24/2019    760        Grisel Vazquez             Final check 1216-12242019         408.36
12/30/2019    761      Shawn Hernandez              Final check 1216-12302019          32.54
12/30/2019    763          Huy Banh                 Final check 1216-12302019         575.74
12/30/2019    764        Nicholas Diaz              Final check 1216-12302019         208.13
12/30/2019    765       Nicholas Devora             Final check 1216-12262019         214.99
12/16/2019   Refund           ADP                          Payroll Refund             -6952



                                                   TOTAL DISBURSEMENTS THIS PERIOD:      1,579,732




                                           Page 9 of 21
        Case 2:19-bk-14989-WB               Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53     Desc
                                            Main Document    Page 10 of 21
                                                    PAYROLL ACCOUNT
                                                   BANK RECONCILIATION

                           Bank statement Date:           12/31/2019     Balance on Statement:      20,183

Plus deposits in transit (a):
                                                    Deposit Date           Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                               -

Less Outstanding Checks (a):
                           Check Number              Check Date             Check Amount
                                121                   6/26/2019                 30.27
                                173                   7/15/2019                156.15
                                182                   7/18/2019                 32.55
                                261                    8/8/2019                 32.54
                                302                   8/21/2019                138.52
                                305                   8/21/2019                 20.79
                                311                   8/21/2019                 379.2
                                387                    9/5/2019                 75.54
                                396                   9/12/2019                 32.55
                                425                   9/24/2019                 32.54
                                426                   9/24/2019                 32.55
                                488                  10/21/2019                 43.59
                                498                  10/21/2019                  20.8
                                511                  10/21/2019                 59.42
                                535                  10/21/2019                 43.58
                                543                  10/21/2019                  43.1
                                547                  10/21/2019                 43.59
                                556                  10/21/2019                 58.78
                                562                  10/21/2019                 40.75
                                566                  10/21/2019                 43.58
                                582                  10/21/2019                 43.57
                                583                  10/21/2019                 43.58
                                594                  10/23/2019                 136.7
                                660                  11/20/2019                110.09
                                661                  11/20/2019                105.31
                                664                  11/20/2019                105.32
                                665                  11/20/2019                 184.7
                                667                  11/20/2019                111.29
                                672                  11/20/2019                105.33
                                679                  11/20/2019                111.29
                                685                  11/20/2019                 110.1
                                687                  11/20/2019                111.29
                                688                  11/20/2019                110.09
                                702                  11/21/2019                 381.1
                                708                   12/2/2019                743.88
                                727                   12/2/2019                 35.63
                                759                  12/24/2019                142.86
                                760                  12/24/2019                408.36
                                761                  12/30/2019                 32.54
                                763                  12/30/2019                575.74
                                764                  12/30/2019                208.13
                                765                  12/30/2019                214.99

                                                      Page 10 of 21
       Case 2:19-bk-14989-WB              Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53   Desc
                                          Main Document    Page 11 of 21



TOTAL OUTSTANDING CHECKS:                                                                           5,492

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                          14,691
* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment




                                                         Page 11 of 21
       Case 2:19-bk-14989-WB           Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53   Desc
                                       Main Document    Page 12 of 21
                                          I. CASH RECEIPTS AND DISBURSEMENTS
                                                    C. (TAX ACCOUNT)

1. TOTAL RECEIPTS PER ALL PRIOR TAX ACCOUNT REPORTS                                         3,202,723

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR TAX                                              3,173,789
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                         28,934

4. RECEIPTS DURING CURRENT PERIOD:                                                           472,278
     (Transfer from General Account)
Other (Itemize):




5. BALANCE:                                                                                501,211.98

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
     TOTAL DISBURSEMENTS THIS PERIOD:***                                                     487,104

7. ENDING BALANCE:                                                                            14,108

8.   TAX Account Number(s):                            ******8399


                                                       DIP Taxes Wells Fargo
                                                       3200 Foothill, Blvd.
     Depository Name & Location:                       La Crescenta, CA 91214




                                                      Page 12 of 21
     Case 2:19-bk-14989-WB             Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53               Desc
                                       Main Document    Page 13 of 21
                              TOTAL DISBURSEMENTS FROM TAX ACCOUNT FOR CURRENT PERIOD

                     Check
Date mm/dd/yyyy     Number                Payee                              Purpose                  Amount
  12/04/2019      wire        ADP                       Payroll Tax                                       221,078
  12/04/2019      Deduction   Wells Fargo Bank          Bank Charges                                             5
  12/05/2019      wire        ADP                       Payroll Tax                                          1,956
  12/05/2019      Deduction   Wells Fargo Bank          Bank Charges                                             5
  12/06/2019      wire        ADP                       Payroll Tax                                            365
  12/19/2019      Deduction   Wells Fargo Bank          Bank Charges                                             5
  12/19/2019      wire        ADP                       Payroll Tax                                       261,201
  12/20/2019      Deduction   Wells Fargo Bank          Bank Charges                                             5
  12/20/2019      wire        ADP                       Payroll Tax                                          2,212
  12/27/2019      ACH         ADP                       Payroll Processing Fees                                273
                                                                   TOTAL DISBURSEMENTS THIS PERIOD:        487,104




                                                   Page 13 of 21
        Case 2:19-bk-14989-WB               Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53       Desc
                                            Main Document    Page 14 of 21
                                                        TAX ACCOUNT
                                                     BANK RECONCILIATION

                           Bank statement Date:               12/31/2019   Balance on Statement:          14,108

Plus deposits in transit (a):
                                                       Deposit Date          Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                      0

Less Outstanding Checks (a):
                           Check Number                 Check Date            Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                      0

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                    14,108

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment




                                                         Page 14 of 21
        Case 2:19-bk-14989-WB                  Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53                               Desc
                                               Main Document    Page 15 of 21
                                                    I. D SUMMARY SCHEDULE OF CASH

ENDING BALANCES FOR THE PERIOD:
                     (Provide a copy of monthly account statements for each of the below)

                                                             General Account:                   2,088,438
                                                              Payroll Account:                     14,691
                                                                 Tax Account:                      14,108
      *Other Accounts:


        *Other Monies:
                                                   **Petty Cash (from below):                            0

TOTAL CASH AVAILABLE:                                                                                                         2,117,237


Petty Cash Transactions:
          Date                       Purpose                                               Amount




TOTAL PETTY CASH TRANSACTIONS:                                                                                                        0




* Specify the Type of holding (e.g. CD, Savings Account, Investment Security), and the depository name, location & account#
** Attach Exhibit Itemizing all petty cash transactions




                                                                Page 15 of 21
         Case 2:19-bk-14989-WB                       Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53                                           Desc
                                                     Main Document    Page 16 of 21
                                              II. STATUS OF PAYMENTS TO SECURED CREDITORS, LESSORS
                                                    AND OTHER PARTIES TO EXECUTORY CONTRACTS

                                                 Frequency of Payments                                    Post-Petition payments
            Creditor, Lessor, Etc.                     (Mo/Qtr)                Amount of Payment           not made (Number)              Total Due
Hillair Capital                               Weekly                                        40,000                             0                        0
Parkway Commercial Realty                     Monthly                                        3,412                             0                        0
Three Two Seven Family Mmgt LLC               Monthly                                        2,335                             0                        0
Trust 5025983 LLC                             Monthly                                        2,000                             0                        0
Bulldog Commercial Real Estate                Monthly                                       10,500                             0                        0
ExtraSpaceStorage                             Monthly                                          140                             0                        0
The Hertz Corporation (1)                     Bi-Monthly                                   446,302                             2                  183,684 (1)
Lockton Companies, LLC                        Monthly                                       71,022                             0                        0
GTR Source LLC                                Monthly                                       27,663                             6                  165,977
Hop Capital                                   Monthly                                       37,978                             6                  227,870
Chrome Capital                                Unknown                                      350,000                       Unknown                  350,000 (2)
WG Fund                                       Monthly                                        2,722                             6                   16,333
Influx Capital LLC                            Monthly                                        3,427                             6                   20,564
NexGen Capital, LLC                           Monthly                                       28,210                             6                  169,257
                                                                                                                      TOTAL DUE:                1,133,684

(1) Historically, the total monthly amount due and owing Hertz, which fluctuates depending on van usage, was split into two. Hertz Corportion
submitted a pre-petition amounts due that is materially different from $446,302 comparising of Tolls charges that were not billed to the Debtor.
Debtor is in the process of auditing all the amounts submitted to verify validity of amounts. It is likely that over $100k will be added to the balance if
Debtor can successfully reduce penalties for trivial toll charges that in some cases are $500 or $1,000 per toll charge.
(2) Based upon the limited settlement documentation relating to Chrome Capital that the debtors are in possession of, it appears that the total
settlement amount was $350K, of which none was paid (although it is unclear whether and when any settlement payments were or are due, given
the lack of settlement documentation in this regard).


                                                                    III. TAX LIABILITIES

FOR THE REPORTING PERIOD:
                                                                                               Gross Sales Subject to Sales Tax:                     0.00
                                                                                                             Total Wages Paid:                  1,579,732

                                                                                Total Post-Petition                                   Date Delinquent
                                                                                 Amounts Owing             Amount Delinquent           Amount Due
                                              Federal Withholding
                                              State Withholding
                                              FICA- Employer's Share
                                              FICA- Employee's Share
                                              Federal Unemployment
                                              Sales and Use
                                              Real Property
                                     Other:
                                                                     TOTAL:                           0                        0

(1) Hertz Corportion submitted a pre-petition amounts due that is materially different from $446,302 comparising of Tolls charges that were not billed to
the Debtor. Debtor is in the process of auditing all the amounts submitted to verify validity of amounts. It is likely that over $100k will be added to the
balance if Debtor can successfully reduce penalties for trivial toll charges that in some cases are $500 or $1,000 per toll charge.




                                                                        Page 16 of 21
           Case 2:19-bk-14989-WB                                  Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53                                                                     Desc
                                                                  Main Document    Page 17 of 21
                                                                  IV. AGING OF ACCOUNTS PAYABLE AND RECEIVABLE

                                                                                                                   *Accounts Payable                     Accounts Receivable
                                                                                                                     Post-Petition                Pre-Petition         Post-Petition
                                                                                                  Current                          279,800                     -             3,748,745
                                                                                              1 - 30 days                            4,494                     -                     -
                                                                                             31 - 60 days                              -                       -                     -
                                                                                             61 - 90 days                              -                       -                     -
                                                                                            91 - 120 days                           33,696                     -                     -
                                                                                           Over 120 days                           139,777                344,788                    -
                                                                                                  TOTAL:                           457,767                344,788            3,748,745




                                                                                V. INSURANCE COVERAGE

                                                                                                                                                                           Premium Paid
                                    Type                                Name of Carrier                           Amount of Coverage         Policy Expiration Date       Through (Date)
                      General Liability                Lockton Insurance Brokers, LLC                       $300k to $1M                                3/31/2020                12/31/2019
                      Worker's Compensation            Innovative (CA/IL)                                   No limit, w $10k deductible                 1/31/2020                12/31/2019
                      Worker's Compensation            Self Insured in Texas                                Self Insured                                  Monthly                12/31/2019 (1)
                      Vehicle                          Hertz                                                $0-300K                                      3/1/2020                  1/1/2020 (2)
              Others: Umbrella                         First Insurance Funding                              $1M                                         9/15/2020                  1/1/2020


                                                                     VI. UNITED STATES TRUSTEE QUARTERLY FEES
                                                                                 (TOTAL PAYMENTS)

  Quarterly Period                                                                                                                                                       Quarterly Fees Still
   Ending (Date)            Total Disbursements                          Quarterly Fees                                 Date Paid                 Amount Paid                 Owing




                                                                                                                                                                                          -
                                                                                                        -                                                       -                         -
(1) In process of obtaining quotes for Texas Workers' Compensation insurance to replace the current state registration.
(2) Hertz agrees to extend the CY 2019 contract at current rates and to revisit on March 1 to finalize new contract, which has a higher premium, yet to be determined.




                                                                                            Page 17 of 21
        Case 2:19-bk-14989-WB                  Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53                              Desc
                                               Main Document    Page 18 of 21
                                         VII SCHEDULE OF COMPENSATION PAID TO INSIDERS

                                          Date of Order Authorizing                                        Gross Compensation
            Name of Insider                    Compensation              *Authorized Gross Compensation   Paid During the Month
George Voskanian                                 6/12/2019                       $25,000 / Month                         25,000
Scott Sheikh                                     6/12/2019                       $25,000 / Month                         25,000




                                       VIII. SCHEDULE OF OTHER AMOUNTS PAID TO INSIDERS

                                          Date of Order Authorizing                                       Amount Paid During the
            Name of Insider                    Compensation                         Description                  Month
George Voskanian                                         12/21/2019           Travel Reimbursement                        4,170
George Voskanian                                         12/31/2019           Travel Reimbursement                          476



* Please indicate how compensation was identified in the order (e.g. $1,000/week, $2,500/month)
(1) Includes approved compensation per the underlying stipulation including catch-up amounts.




                                                                 Page 18 of 21
Case 2:19-bk-14989-WB                 Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53                                                               Desc
                                      Main Document    Page 19 of 21
                                                                    IX. PROFIT AND LOSS STATEMENT
                                                                          (ACCRUAL BASIS ONLY)




                                                                                12/1/2019 through
                                                                                   12/31/2019                   Cumulative Post-Petition
              Sales/Revenue:
                   Gross Sales/Revenue                                                  3,941,547.00                                31,429,794
                   Less: Returns/Discounts                                                        0                                          0
                                                         Net Sales/Revenue                3,941,547                                 31,429,794

              Cost of Goods Sold:
                   Beginning Inventory at cost                                                      0                                           0
                   Purchases                                                                        0                                           0
                   Less: Ending Inventory at cost                                                   0                                           0
                                                 Cost of Goods Sold (COGS)                          0                                           0

              Gross Profit                                                                 3,941,547                                31,429,794

                   Other Operating Income (Itemize)

              Operating Expenses:
                  Payroll - Insiders                                                          55,000                                   500,866
                  Payroll - Other Employees                                                1,956,946                                16,006,110
                  Payroll Taxes                                                              186,566                                 1,457,086
                  Other Franchise Tax and Filing Fees (Itemize)                                   35                                     6,682
                  Depreciation and Amortization                                               38,017                                   106,110
                  Rent Expense - Real Property                                                16,373                                   134,223
                  Lease Expense - Personal Property                                                0                                         0
                  Insurance                                                                  222,169                                 1,842,286
                  Tax Consulting Fees                                                              0                                    37,431
                  Telephone and Utilities                                                     35,126                                   272,482
                  Repairs and Maintenance                                                        959                                     8,218
                  Travel and Entertainment (Itemize)                                           6,282                                    72,560
                  Miscellaneous Operating Expenses (Itemize)                                 814,586                                 7,168,026
                                                    Total Operating Expenses               3,332,059                                27,612,080

                                           Net Gain/(Loss) from Operations                   609,488                                 3,817,714

              Non-Operating Income:
                  Interest Income                                                                   0                                           19
                  Net Gain on Sale of Assets (Itemize)                                              0                                            0
                  Other (Itemize)                                                                   0                                            0
                                               Total Non-Operating income                           0                                           19

              Non-Operating Expenses:
                  Interest Expense
                  Legal and Professional (Itemize)
                      Debtor Counsel                                                         186,038                                 1,575,588
                      Debtor CRO                                                              20,521                                   253,696
                      Debtor Advisor                                                          42,796                                   493,284
                      Board of Directors                                                       5,000                                    35,000
                      Secured Lender Counsel                                                  19,000                                   370,654
                      Committee Counsel                                                            0                                   303,144
                      Committee Professionals                                                      0                                         0
                      Investment Banker                                                            0                                   100,000
                      US Trustee Fees                                                              0                                    66,464
                      Accrued US Trustee Fees for Q3                                               0                                   204,776
                  Other (Itemize)                                                                  0                                         0
                                          Total Non-Operating Expenses (1)                   273,354                                 3,402,606

              NET INCOME/(LOSS)                                                              336,134                                   415,127

              Itemized Miscellaneous Operating Expenses
                   Fuel Expense                                                              218,568                                 2,221,925
                   Vehicle Expense (2)                                                       469,931                                 3,983,884
                   Employment Counsel                                                              0                                         0
                   Office Supplies                                                            13,895                                   152,224
                   Driver Background Check                                                     9,887                                   128,027
                   Dues and Subscriptions                                                      6,270                                    46,145
                   Car Wash                                                                    2,045                                    42,715
                   Citation/Tolls                                                             31,998                                   222,807
                   Accidents                                                                       0                                     6,354
                   Bank Charges                                                                  730                                     8,206
                   Recruitment Expenses                                                       10,398                                    75,134
                   IT Expenses                                                                14,200                                   128,550
                   Other misc. OpEx (3)                                                       36,664                                   152,056
                   Total                                                                     814,586                                 7,168,026

              (1) The identified amounts are estimates based upon discussions with the Debtors’ professionals, Committee counsel and
              counsel for Hillair, as applicable, and are subject to various orders, including but not limited to orders governing the use of
              cash collateral and orders approving the employment of the various professionals identified.
              (2) The Company is in the process of auditing Hertz's billing as it seems to be overstated as number of vans rented has
              substantially reduced, yet billing was up in October. The Company anticipates that $75-100k may be reduced after the audit is
              complete as early audit findings show billing for vans that were not rented.
              (3) Includes $1,695 Uniform expense, $1,526 Janitorial expense, $1,052 shipping expense, $934 Meals expense, and $31,457
              Payroll Processing Fees



                                                                       Page 19 of 21
          Case 2:19-bk-14989-WB                              Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53                                                         Desc
                                                             Main Document    Page 20 of 21
                                                                                    X. BALANCE SHEET
                                                                                  (ACCRUAL BASIS ONLY)

ASSETS                                                                                                           Current Month End
   Current Assets:
   Unrestricted Cash                                                                                                      2,117,237
   Restricted Cash                                                                                                                0
   Accounts Receivable                                                                                                    4,093,533
   Inventory                                                                                                                      0
   Notes Receivable                                                                                                               0
   Prepaid Expenses                                                                                                         143,202 (1)
   Other (Itemize)                                                                                                                0
                                                                   Total Current Assets                                                                                       6,353,973

Property, Plant, and Equipment                                                                                            1,096,486
Accumulated Depreciation/Depletion                                                                                         (257,421)
                                                  Net Property, Plant, and Equipment                                                                                            839,065

Other Assets (Net of Amortization):
   Due from Insiders                                                                                                      1,887,751 (2)
   Other (Itemize)                                                                                                            7,174 (3)
                                                                     Total Other Assets                                                                                       1,894,925

TOTAL ASSETS                                                                                                                                                                  9,087,963

LIABILITIES
Post-petition Liabilities:
   Accounts Payable                                                                                                         457,767 (4)
   Taxes Payable                                                                                                                  0
   Notes Payable                                                                                                                  0
   Professional fees                                                                                                        970,537
   Secured Debt                                                                                                                   0
   Accrued Payroll                                                                                                        1,076,688
   Accrued Q4 US Trustee Fees                                                                                                76,550
   Other (Itemize)(7)                                                                                                        69,073
                                                          Total Post-petition Liabilities                                                                                     2,650,615

Pre-petition Liabilities:
   Hillair Notes Payable due to Scoobeez Global                                                                          11,153,098 (5)
   Hillair (Per cash collateral stipulation)                                                                             (1,460,000) (5)
   Priority Liabilities                                                                                                         -
   Unsecured Liabilities                                                                                                 24,070,267 (6)
   Other (Itemize)                                                                                                          926,953
                                                           Total Pre-petition Liabilities                                                                                    34,690,318

TOTAL LIABILITIES                                                                                                                                                            37,340,933

EQUITY:
   Pre-petition Owners’ Equity                                                                                          (20,569,242)
   Post-petition Profit/(Loss)                                                                                              415,127
   Direct Charges to Equity                                                                                              (8,098,859)
TOTAL EQUITY                                                                                                                                                                (28,252,974)

TOTAL LIABILITIES & EQUITY                                                                                                                                                    9,087,959
                                                                                                                                                                                     (4)

(1) Includes deposits for fuel in the approximate amounts of $55K for Pex, $39K in prepaid insurance and $49k in security deposits and other.
(2) The amount "Due from Insiders" continues to be reviewed and this figure will be updated as necessary and appropriate based upon that review.
(3) This amount reflects primarily potential funds to be recovered from various merchant cash entities.

(4) Hertz ($242K), Booster ($19k), AT&T Mobility ($22K), Tolls ($162K), and various other accounts payable ($13K).
(5) Since the petition date the Debtor has paid $1,460K to Hillair Capital Management pursuant to certain cash collateral stipulations and orders, and said funds shall be applied in a
manner consistent therewith.
(6) The Pre-Petition Unsecured Liabilities include the balance due and owing Avitus as reflected in the Debtor(s)' pre-petition balance sheet(s) ($15,971,408) (the "Avitus Debt").
Although this figure is disputed by the Debtor(s), and inconsistent with the figure(s) included in the schedules filed by the Debtors (which the Debtors believe to be a more accurate
estimate of the amount actually due and owing Avitus), this figure is included herein in order to maintain consistency with the Debtor(s)' previous balance sheet(s). The CRO
continues to evaluate the true nature and amount of the Avitus Debt and will update it as necessary and appropriate. In addition, this figure includes $8,098,859 due and owing a
number of merchant cash advance entities pursuant to a global settlement by and among the Debtor and Scoobeez Global, on the one hand, and a number of merchant cash
entities on the other hand.
(7) Includes Tax preparation expense of $40K and expenses submitted by Suzy, which are pending to be verifed for the amount of $29K.




                                                                                       Page 20 of 21
         Case 2:19-bk-14989-WB                         Doc 549 Filed 01/17/20 Entered 01/17/20 13:39:53                                                 Desc
                                                       Main Document    Page 21 of 21
                                                                          XI. QUESTIONNAIRE



1.   Has the debtor-in-possession made any payments on its pre-petition unsecured debt, except as have been authorized by the court? If "Yes",
     explain below:                                                                                                                                       No   Yes
     On or about 7/1/2019, $6,647 was paid to Shoushana Ohanessian as reimbursement for an advance of funds expended by Mrs. Ohanessian in
     order to revive Scoobur's corporate status. The debtor(s) are in the process of determining the manner in which to treat this payment and/or any
     claim(s) associated therewith.                                                                                                                            X


2.   Has the debtor-in-possession during this reporting period provided compensation or remuneration to any officers, directors, principals, or other
     insiders without appropriate authorization? If "Yes", explain below:                                                                                 No   Yes

     See response to Question #1                                                                                                                               X

3.   State what progress was made during the reporting period toward filing a plan of reorganization
     On December 2, 2019, the Court entered the Order Denying Motion for Entry of Order (I) Authorizing The Sale of Substantially All of The Assets of
     The Debtors Outside The Ordinary Course of Business, Free And Clear of All Liens, Claims, Encumbrances And Interests, Subject to Higher And
     Better Bids; (II) Authorizing the Assumption And Assignment of Certain Executory Contracts And Unexpired Leases in Connection With Such Sale;
     and (III) Granting Related Relief. On December 6, 2019, the Debtors entered into the Third Stipulation Regarding Continued Use of Cash Collateral,
     and an order thereon was entered by the Court on December 10, 2019. On December 12, 2019 the Debtors filed a stipulation between the
     Debtors and Ardis Stephens for Limited Relief From Stay, and an order thereon was entered by this Court on December 20, 2019. On December
     18, 2019, the Debtors filed an Application to Employ Hilco Real Estate LLC as Exclusive to Market Property. The Debtors have also been working
     diligently with Hillair Capital Management and the Committee to reach agreement on the terms of a consensual plan of reorganization.


4.   Describe potential future developments which may have a significant impact on the case:


     See note 3 above

5.   Attach copies of all Orders granting relief from the automatic stay that were entered during the reporting period.


6.   Did you receive any exempt income this month, which is not set forth in the operating report? If "Yes", please set forth the amounts and sources
     of the income below.                                                                                                                                 No   Yes
                                                                                                                                                          X

     /s/ George Voskanian
I,   George Voskanian, CFO/Co-CEO
     declare under penalty of perjury that I have fully read and understood the foregoing debtor-in-possession operating report and that the
     information contained herein is true and complete to the best of my knowledge.




                                                                             Page 21 of 21
